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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

10X GENOMICS, INC. and PROGNOSYS
BIOSCIENCES, INC.,

               Plaintiffs,
                                                         C.A. No. 21-cv-653-MFK
       v.

NANOSTRING TECHNOLOGIES, INC.,

               Defendant.



     PLAINTIFFS 10X GENOMICS, INC. AND PROGNOSYS BIOSCIENCES, INC.’S
               MOTION FOR JUDGMENT AS A MATTER OF LAW
          PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 50(a)

       Plaintiffs 10x Genomics, Inc. and Prognosys Biosciences, Inc. (“Plaintiffs”) move for

judgment as a matter of law pursuant to Federal Rule of Civil Procedure 50(a) that:

       (1) Defendant NanoString Technologies, Inc. (“NanoString”) directly infringed and

contributed to infringement of U.S. Patent Nos. 10,472,669; 10,961,566; 10,983,113; 10,996,219;

11,001,878; and 11,008,607 and

       (2) U.S. Patent Nos. 10,472,669; 10,961,566; 10,983,113; 10,996,219; 11,001,878;

11,008,607; and 11,293,917 are not invalid.

       Support for this Motion may be found in Plaintiffs’ brief filed simultaneously herewith and

for the reasons stated on the record during trial.




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